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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,
                                            Criminal No.: 1:22-cr-00354-RCL-1 and 2

 -v-                                        DEFENDANT’S MOTION FOR
                                            ENLARGEMENT OF TIME
 RICHARD SLAUGHTER, and

 CADEN GOTTFRIED

                    Defendants.


       DEFENDANTS UNOPPOSED MOTION FOR ENLARGMENT OF TIME

        COMES NOW, Defendants Richard Slaughter and Caden Gottfried

(“Defendants”), by and through undersigned counsel, hereby respectfully moves the

Court for an order on an unopposed motion to grant an extension for the deadline to

submit filings addressing the Government’s Response to Notice of Malware, Dkt. [41].

Counsel respectfully requests a 14-day extension of time for Defendants to file on the

basis of overwhelming travel demands and hectic schedule with ongoing trials. Counsel

has conferred with the Government who does not oppose the 14-day extension to a due

date of May 2, 2023, no harm will come to either party, Defendants will not oppose

tolling timing, and they consent to a waiver to exclude the time within which the trial

must commence under the Speedy Trial Act, 18 U.S.C. § 3161.

        WHEREFORE, Defendants respectfully request this Court to enter an order

granting a 14-day extension to file their reply.
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Dated: April 18, 2023

                                         Respectfully Submitted,

                                                                   /s/ John M. Pierce
                                                                       John M. Pierce
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                                                                3rd Floor, PMB #172
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                                                              Attorney for Defendant
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                                CERTIFICATE OF SERVICE

       I, John M. Pierce, hereby certify that on this day, April 18, 2023, I caused a copy of the

foregoing document to be served on all counsel through the Court’s CM/ECF case filing system.



                                             /s/ John M. Pierce
                                             John M. Pierce
